    Case 21-03000-sgj Doc 63 Filed 02/09/21                   Entered 02/09/21 12:57:38           Page 1 of 13




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                       )
In re:                                                                 )
                                                                       )    Chapter 11
                                                          1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                     )
                                                                       )    Case No. 19-34054 (SGJ)
                              Debtor.                                  )
                                                                       )
                                                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                      )
                                                                       )
                              Plaintiff,                               )
vs.                                                                    )
                                                                       )
HIGHLAND CAPITAL MANAGEMENT FUND                                       )    Adv. Pro. No. 21-03000 (SGJ)
ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,                               )
HIGHLAND INCOME FUND, NEXTPOINT                                        )
STRATEGIC OPPORTUNITIES FUND, NEXPOINT                                 )
CAPITAL INC., AND CLO HOLDCO, LTD.,                                    )
                                                                       )
                             Defendants.                               )
                                                                       )

                                      CERTIFICATE OF SERVICE

      I, Vincent Trang, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On February 5, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service lists attached
hereto as Exhibit A and Exhibit B; and via First Class Mail upon the service lists attached
hereto as Exhibit C and Exhibit D:




                                             (Continued on Next Page)




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
Case 21-03000-sgj Doc 63 Filed 02/09/21        Entered 02/09/21 12:57:38   Page 2 of 13




   •   Notice of Hearing on Plaintiff’s Emergency Motion for a Temporary Restraining
       Order and Preliminary Injunction Against Certain Entities Owned and/or
       Controlled by Mr. James Dondero [Docket No. 61]


Dated: February 9, 2021
                                           /s/ Vincent Trang
                                           Vincent Trang
                                           KCC
                                           222 N Pacific Coast Highway, Suite 300
                                           El Segundo, CA 90245




                                           2
Case 21-03000-sgj Doc 63 Filed 02/09/21   Entered 02/09/21 12:57:38   Page 3 of 13



                              EXHIBIT A
           Case 21-03000-sgj Doc 63 Filed 02/09/21                           Entered 02/09/21 12:57:38               Page 4 of 13
                                                                    Exhibit A
                                                              Core/2002 Service List
                                                             Served via Electronic Mail

             Description                        CreditorName                 CreditorNoticeName                        Email
                                                                                                     ctimmons@abernathy-law.com;
Counsel for Collin County Tax            Abernathy, Roeder, Boyd &      Chad Timmons, Larry R. Boyd, bankruptcy@abernathy-law.com;
Assessor/Collector                       Hullett, P.C.                  Emily M. Hahn                ehahn@abernathy-law.com
Counsel for NexBank                      Alston & Bird LLP              Jared Slade                  jared.slade@alston.com
Counsel for NexBank                      Alston & Bird LLP              Jonathan T. Edwards          jonathan.edwards@alston.com
                                                                        William P. Bowden, Esq.,
Counsel to Jefferies LLC             Ashby & Geddes, P.A.               Michael D. DeBaecke, Esq.    mdebaecke@ashbygeddes.com
Counsel for Scott Ellington, Thomas
Surgent, Frank Waterhouse, and Issac
Leventon (the “Senior Employees”)    Baker & Mckenzie LLP               Debra A. Dandeneau              debra.dandeneau@bakermckenzie.com
Counsel for Scott Ellington, Thomas
Surgent, Frank Waterhouse, and Issac
Leventon (the “Senior Employees”)    Baker & Mckenzie LLP               Michelle Hartmann               michelle.hartmann@bakermckenzie.com

Counsel for NWCC, LLC                   Barnes & Thornburg LLP          Thomas G. Haskins, Jr.          thomas.haskins@btlaw.com
Counsel to Acis Capital Management
GP LLC and Acis Capital                                                                                mintz@blankrome.com;
Management, L.P. (collectively, “Acis”) Blank Rome LLP                  John E. Lucian, Josef W. Mintz jbibiloni@blankrome.com
                                                                                                       michael.lynn@bondsellis.com;
                                         Bonds Ellis Eppich Schafer     D. Michael Lynn, John Y.       john@bondsellis.com;
Counsel to James Dondero                 Jones LLP                      Bonds, III, Bryan C. Assink    bryan.assink@bondsellis.com
                                         Buchalter, A Professional
Counsel to Oracle America, Inc.          Corporation                    Shawn M. Christianson, Esq.     schristianson@buchalter.com
Counsel for UBS Securities LLC and                                      Martin A. Sosland and Candice   martin.sosland@butlersnow.com;
UBS AG, London Branch                    Butler Snow LLP                M. Carson                       candice.carson@butlersnow.com
Counsel to Integrated Financial                                         Candace C. Carlyon, Esq.,       ccarlyon@carlyoncica.com;
Associates Inc.                          Carlyon Cica Chtd.             Tracy M. Osteen, Esq.           tosteen@carlyoncica.com
Counsel to the Intertrust Entities and   Chipman, Brown, Cicero &
the CLO Entities                         Cole, LLP                    Mark L. Desgrosseilliers          desgross@chipmanbrown.com
                                         Cole, Schotz, Meisel, Forman
Creditor                                 & Leonard, P.A.              Michael D. Warner, Esq.           mwarner@coleschotz.com
                                         Condon Tobin Sladek
Counsel to Siepe LLC                     Thornton PLLC                J. Seth Moore                     smoore@ctstlaw.com
Counsel to Patrick Daugherty (“Mr.
Daugherty”)                              Cross & Simon LLC              Michael L. Vild, Esquire        mvild@crosslaw.com
Counsel to Jefferies LLC                 Dentons US LLP                 Lauren Macksoud, Esq.           lauren.macksoud@dentons.com
Counsel to Jefferies LLC                 Dentons US LLP                 Patrick C. Maxcy, Esq.          patrick.maxcy@dentons.com
Counsel to Acis Capital Management,
LP and Acis Capital Management GP,                                      Jeff P. Prostok, Suzanne K.     jprostok@forsheyprostok.com;
LLC ("Creditors")                        Forshey & Prostok LLP          Rosen                           srosen@forsheyprostok.com
Secured Creditor                         Frontier State Bank            Attn: Steve Elliot              selliott@frontier-ok.com
Counsel to the Redeemer Committee
of the Highland Crusader
Fund                                     Frost Brown Todd LLC           Mark A. Platt                   mplatt@fbtlaw.com
Counsel to Alvarez & Marsal CRF
Management LLC as Investment                                            Marshall R. King, Esq., Michael mking@gibsondunn.com;
Manager of the Highland Crusader         Gibson, Dunn & Crutcher        A. Rosenthal, Esq. & Alan       mrosenthal@gibsondunn.com;
Funds                                    LLP                            Moskowitz, Esq.                 amoskowitz@gibsondunn.com
Counsel to Alvarez & Marsal CRF
Management LLC as Investment
Manager of the Highland Crusader         Gibson, Dunn & Crutcher
Funds                                    LLP                       Matthew G. Bouslog, Esq.             mbouslog@gibsondunn.com
                                                                   Melissa S. Hayward, Zachery          MHayward@HaywardFirm.com;
Counsel for the Debtor                   Hayward & Associates PLLC Z. Annable                           ZAnnable@HaywardFirm.com
                                                                                                        ddraper@hellerdraper.com;
Counsel for the Dugaboy Investment                                     Douglas S. Draper, Leslie A.     lcollins@hellerdraper.com;
Trust and Get Good Trust                 Heller, Draper & Horn, L.L.C. Collins, Greta M. Brouphy        gbrouphy@hellerdraper.com
                                         Hunter Mountain Investment
Equity Holders                           Trust                         c/o Rand Advisors LLC            Jhonis@RandAdvisors.com
IRS                                      Internal Revenue Service      Attn Susanne Larson              SBSE.Insolvency.Balt@irs.gov
                                                                       Centralized Insolvency
IRS                                      Internal Revenue Service      Operation                        Mimi.M.Wong@irscounsel.treas.gov



Highland Capital Management, L.P.
Case No. 19-34054                                                     Page 1 of 4
          Case 21-03000-sgj Doc 63 Filed 02/09/21                             Entered 02/09/21 12:57:38               Page 5 of 13
                                                                     Exhibit A
                                                               Core/2002 Service List
                                                              Served via Electronic Mail

             Description                        CreditorName                 CreditorNoticeName                              Email
                                                                         Centralized Insolvency
IRS                                      Internal Revenue Service        Operation                       Mimi.M.Wong@irscounsel.treas.gov

Counsel to Crescent TC Investors, L.P.   Jackson Walker L.L.P.           Michael S. Held                 mheld@jw.com
Secured Creditor                         Jefferies LLC                   Director of Compliance          cbianchi@jefferies.com
Secured Creditor                         Jefferies LLC                   Office of the General Counsel   cbianchi@jefferies.com
Counsel to the Redeemer Committee
of the Highland Crusader                                                                                 mhankin@jenner.com;
Fund                                     Jenner & Block LLP              Marc B. Hankin, Richard Levin   rlevin@jenner.com
Counsel for CCS Medical, Inc.            Jones Day                       Amanda Rush                     asrush@jonesday.com
Counsel to the Issuers (group of 25                                      Joseph E. Bain, Amy K.          jbain@joneswalker.com;
separate Cayman issuers of loan)         Jones Walker LLP                Anderson                        aanderson@joneswalker.com
Counsel for Highland Capital
Management Fund Advisors, L.P.,
NexPoint Advisors, L.P., et al           K&L Gates LLP                   Artoush Varshosaz               artoush.varshosaz@klgates.com
Counsel for Highland Capital
Management Fund Advisors, L.P.,
NexPoint Advisors, L.P., et al           K&L Gates LLP                   James A. Wright III             james.wright@klgates.com
Counsel for Highland Capital
Management Fund Advisors, L.P.,
NexPoint Advisors, L.P., et al           K&L Gates LLP                   Stephen G. Topetzes             stephen.topetzes@klgates.com
                                         Kane Russell Coleman
Counsel to CLO Holdco, Ltd.              Logan PC                        John J. Kane                    jkane@krcl.com
Counsel for Highland CLO Funding         King & Spalding LLP             Paul R. Bessette                pbessette@kslaw.com
Counsel to BET Investments II, L.P.      Kurtzman Steady, LLC            Jeffrey Kurtzman, Esq.          Kurtzman@kurtzmansteady.com
Counsel to UBS Securities LLC and
UBS AG London Branch (“UBS”)             Latham & Watkins LLP            Asif Attarwala                  asif.attarwala@lw.com
Counsel to UBS Securities LLC and
UBS AG London Branch (“UBS”)             Latham & Watkins LLP            Jeffrey E. Bjork                jeff.bjork@lw.com
Counsel to Coleman County TAD,
Kaufman County, Upshur County,
Fannin CAD, Tarrant County, Grayson
County, Allen ISD, Dallas County,    Linebarger Goggan Blair &           Elizabeth Weller, Laurie A.
Irving ISD, and Rockwall CAD         Sampson LLP                         Spindler                        dallas.bankruptcy@publicans.com
                                     Loewinsohn Flegle Deary
Counsel for Jack Yang and Brad Borud Simon LLP                           Daniel P. Winikka               danw@lfdslaw.com
                                     Lynn Pinker Cox & Hurst,
Creditor                             L.L.P.                              Michael K. Hurst, Esq.          mhurst@lynnllp.com
Equity Holders                       Mark K. Okada                                                       mokadadallas@gmail.com
Counsel to the Redeemer Committee
of the Highland Crusader             Morris, Nichols, Arsht &                                            rdehney@mnat.com;
Fund                                 Tunnell LLP                         Curtis S. Miller, Kevin M. Coen cmiller@mnat.com
                                                                         Joseph T. Moldovan, Esq. &
Counsel to Meta-e Discovery, LLC         Morrison Cohen LLP              Sally Siconolfi, Esq.           bankruptcy@morrisoncohen.com
Bank                                     NexBank                         John Danilowicz                 john.holt@nexbankcapital.com
Counsel to California Public
Employees’ Retirement System
(“CalPERS”)                              Nixon Peabody LLP               Louis J. Cisz, III, Esq.        lcisz@nixonpeabody.com
                                                                         Securities & Exchange
SEC Headquarters                         Office of General Counsel       Commission                      SECBankruptcy-OGC-ADO@SEC.GOV
                                         Office of the United States
US Trustee for Northern District of TX   Trustee                         Lisa L. Lambert, Esq           lisa.l.lambert@usdoj.gov
                                         Pachulski Stang Ziehl &         John A. Morris and Gregory V. jmorris@pszjlaw.com;
Counsel for the Debtor                   Jones LLP                       Demo                           gdemo@pszjlaw.com
                                                                                                        rpachulski@pszjlaw.com;
                                                                         Richard M. Pachulski, Jeffrey jpomerantz@pszjlaw.com;
                                         Pachulski Stang Ziehl &         N. Pomerantz, Ira D. Kharasch, ikharasch@pszjlaw.com;
Counsel for the Debtor                   Jones LLP                       James E. O’Neill               joneill@pszjlaw.com
                                                                                                        rpachulski@pszjlaw.com;
                                                                         Richard M. Pachulski, Jeffrey jpomerantz@pszjlaw.com;
                                         Pachulski Stang Ziehl &         N. Pomerantz, Ira D. Kharasch, ikharasch@pszjlaw.com;
Counsel for the Debtor                   Jones LLP                       James E. O’Neill               joneill@pszjlaw.com



Highland Capital Management, L.P.
Case No. 19-34054                                                      Page 2 of 4
          Case 21-03000-sgj Doc 63 Filed 02/09/21                            Entered 02/09/21 12:57:38             Page 6 of 13
                                                                     Exhibit A
                                                               Core/2002 Service List
                                                              Served via Electronic Mail

             Description                          CreditorName               CreditorNoticeName                        Email
Pension Benefit Guaranty Corporation      Pension Benefit Guaranty                                    baird.michael@pbgc.gov;
(“PBGC”)                                  Corporation                   Michael I. Baird              efile@pbgc.gov
Counsel to City of Garland, Garland       Perdue, Brandon, Fielder,
ISD, Wylie ISD                            Collins & Mott, L.L.P.    Linda D. Reece                    lreece@pbfcm.com
                                                                    Jeremy W. Ryan, Esq., R.          jryan@potteranderson.com;
Delaware counsel to Alvarez & Marsal Potter Anderson & Corroon Stephen McNeill, Esq. & D.             rmcneill@potteranderson.com;
CRF Management LLC                     LLP                          Ryan Slaugh, Esq.                 rslaugh@potteranderson.com
Secured Creditor                       Prime Brokerage Services     Jefferies LLC                     cbianchi@jefferies.com
Counsel to UBS Securities LLC and                                   Michael J. Merchant, Sarah E.
UBS AG London Branch (“UBS”)           Richards, Layton & Finger PA Silveira                          merchant@rlf.com;silveira@rlf.com
Counsel to Hunter Mountain Trust       Rochelle McCullough, LLP     E. P. Keiffer                     pkeiffer@romclaw.com
Counsel for Scott Ellington, Thomas                                                                   judith.ross@judithwross.com;
Surgent, Frank Waterhouse, and Issac                                Judith W. Ross, Frances A.        frances.smith@judithwross.com;
Leventon (the “Senior Employees”)      Ross & Smith, PC             Smith, Eric Soderlund             eric.soderlund@judithwross.com
Counsel to the Intertrust Entities and
the Issuers (group of 25 separate                                   David J. Karp, James V.           david.karp@srz.com;
Cayman issuers of loan)                Schulte Roth & Zabel LLP     Williams III                      jay.williams@srz.com
                                       Securities & Exchange        Andrew Calamari, Regional         bankruptcynoticeschr@sec.gov;
SEC Regional Office                    Commission                   Director                          nyrobankruptcy@sec.gov
                                       Securities & Exchange        Sharon Binger, Regional
SEC Regional Office                    Commission                   Director                          philadelphia@sec.gov
                                                                                                      mclemente@sidley.com;
Counsel to Official Committee of                                        Matthew Clemente, Alyssa      alyssa.russell@sidley.com;
Unsecured Creditors                       Sidley Austin LLP             Russell, Elliot A. Bromagen   ebromagen@sidley.com
                                                                                                      preid@sidley.com;
                                                                        Penny P. Reid, Paige Holden   pmontgomery@sidley.com;
Counsel to Official Committee of                                        Montgomery, Charles M.        cpersons@sidley.com;
Unsecured Creditors                       Sidley Austin LLP             Person, Juliana Hoffman       jhoffman@sidley.com
Counsel to Patrick Daugherty              Spencer Fane LLP              Jason P. Kathman              jkathman@spencerfane.com
                                                                        Division of Corporations -
DE Secretary of State                     State of Delaware             Franchise Tax                 dosdoc_bankruptcy@state.de.us
Counsel to the Hunter Mountain Trust      Sullivan Hazeltine Allinson
(“Hunter”)                                LLC                         William A. Hazeltine, Esq.      whazeltine@sha-llc.com
                                          The Dugaboy Investment
Equity Holders                            Trust                                                       gscott@myersbigel.com
                                          The Mark and Pamela Okada
                                          Family Trust - Exempt Trust
Equity Holders                            #1                                                          mokadadallas@gmail.com
                                          The Mark and Pamela Okada
                                          Family Trust - Exempt Trust
Equity Holders                            #2                                                          mokadadallas@gmail.com
Counsel to the United States Internal     U.S. Department of Justice,
Revenue Service                           Tax Division                David G. Adams                  david.g.adams@usdoj.gov
                                          United States Attorney
United States Attorney General            General                     U.S. Department of Justice      askdoj@usdoj.gov
Counsel to Acis Capital Management                                                                    rpatel@winstead.com;
GP LLC and Acis Capital                                                 Rakhee V. Patel, Phillip      plamberson@winstead.com;
Management, L.P. (collectively, “Acis”)   Winstead PC                   Lamberson                     achiarello@winstead.com
Counsel for Frank Waterhouse, Scott
B. Ellington, Isaac Leventon, Jean Paul
Sevilla, Hunter Covitz, and Thomas
Surgent (the “Employees”)                 Winston & Strawn LLP          Attn: David Neier             dneier@winston.com
Counsel for Frank Waterhouse, Scott
B. Ellington, Isaac Leventon, Jean Paul
Sevilla, Hunter Covitz, and Thomas
Surgent (the “Employees”)                 Winston & Strawn LLP          Attn: Katherine A. Preston    kpreston@winston.com
Counsel for Frank Waterhouse, Scott
B. Ellington, Isaac Leventon, Jean Paul
Sevilla, Hunter Covitz, and Thomas                                      Attn: Thomas M. Melsheimer;   tmelsheimer@winston.com;
Surgent (the “Employees”)                 Winston & Strawn LLP          Natalie L. Arbaugh            narbaugh@winston.com




Highland Capital Management, L.P.
Case No. 19-34054                                                     Page 3 of 4
          Case 21-03000-sgj Doc 63 Filed 02/09/21                     Entered 02/09/21 12:57:38              Page 7 of 13
                                                             Exhibit A
                                                       Core/2002 Service List
                                                      Served via Electronic Mail

             Description                  CreditorName                CreditorNoticeName                          Email
                                                                                                bankfilings@ycst.com;
                                                                                                mnestor@ycst.com;
                                                                 Michael R. Nestor, Edmon L.    emorton@ycst.com;
Counsel to Official Committee of    Young Conaway Stargatt &     Morton, Sean M. Beach, Esq.,   sbeach@ycst.com;
Unsecured Creditors                 Taylor, LLP                  Jaclyn C. Weissgerber, Esq.    jweissgerber@ycst.com




Highland Capital Management, L.P.
Case No. 19-34054                                              Page 4 of 4
Case 21-03000-sgj Doc 63 Filed 02/09/21   Entered 02/09/21 12:57:38   Page 8 of 13



                              EXHIBIT B
          Case 21-03000-sgj Doc 63 Filed 02/09/21                         Entered 02/09/21 12:57:38              Page 9 of 13
                                                                  Exhibit B
                                                               Affected Parties
                                                           Served via Electronic Mail

                 Description                     CreditorName            CreditorNoticeName                         Email
  Financial Advisor to Official Committee of
  Unsecured Creditors                          FTI Consulting       Daniel H O'Brien               Daniel.H.O'Brien@fticonsulting.com
  Financial Advisor to Official Committee of
  Unsecured Creditors                          FTI Consulting       Earnestiena Cheng              Earnestiena.Cheng@fticonsulting.com
  Financial Advisor to Official Committee of
  Unsecured Creditors                          FTI Consulting       Ellory Brunner                 Ellory.Brunner@fticonsulting.com

  Counsel for Highland Capital Management
  Fund Advisors, L.P., Nexpoint Advisors,
  L.P., Highland Income Fund, Nextpoint
  Strategic Opportunities Fund and Nexpoint
  Capital Inc.                              K&L Gates LLP           A. Lee Hogewood, III           Lee.hogewood@klgates.com

  Counsel for Highland Capital Management
  Fund Advisors, L.P., Nexpoint Advisors,
  L.P., Highland Income Fund, Nextpoint
  Strategic Opportunities Fund and Nexpoint
  Capital Inc.                              K&L Gates LLP           Artoush Varshosaz              artoush.varshosaz@klgates.com

  Counsel for Highland Capital Management
  Fund Advisors, L.P., Nexpoint Advisors,
  L.P., Highland Income Fund, Nextpoint
  Strategic Opportunities Fund and Nexpoint
  Capital Inc.                              K&L Gates LLP           James A. Wright III            james.wright@klgates.com

  Counsel for Highland Capital Management
  Fund Advisors, L.P., Nexpoint Advisors,
  L.P., Highland Income Fund, Nextpoint
  Strategic Opportunities Fund and Nexpoint
  Capital Inc.                              K&L Gates LLP    Stephen G. Topetzes                   stephen.topetzes@klgates.com
                                            Kane Russell     Joseph M. Coleman, John J.            jcoleman@krcl.com;
  Counsel for CLO Holdco, Ltd.              Coleman Logan PC Kane                                  jkane@krcl.com

  Counsel for Highland Capital Management
  Fund Advisors, L.P., Nexpoint Advisors,
  L.P., Highland Income Fund, Nextpoint        MUNSCH HARDT
  Strategic Opportunities Fund and Nexpoint    KOPF & HARR,         Davor Rukavina, Esq., Julian P. drukavina@munsch.com;
  Capital Inc.                                 P.C.                 Vasek, Esq.                     jvasek@munsch.com
  Counsel for CLO Holdco, Ltd.                 Myers Bigel P.A.     Grant Scott, Director           gscott@myersbigel.com
                                                                                                    mclemente@sidley.com;
                                                                    Matthew Clemente, Alyssa        alyssa.russell@sidley.com;
  Counsel to Official Committee of                                  Russell, Elliot A. Bromagen,    ebromagen@sidley.com;
  Unsecured Creditors                          Sidley Austin LLP    Dennis M. Twomey                dtwomey@sidley.com
                                                                                                    preid@sidley.com;
                                                                    Penny P. Reid, Paige Holden     pmontgomery@sidley.com;
  Counsel to Official Committee of                                  Montgomery, Juliana Hoffman, jhoffman@sidley.com;
  Unsecured Creditors                          Sidley Austin LLP    Chandler M. Rognes              crognes@sidley.com




Highland Capital Management, L.P.
Case No. 19-34054                                                  Page 1 of 1
Case 21-03000-sgj Doc 63 Filed 02/09/21   Entered 02/09/21 12:57:38   Page 10 of 13



                              EXHIBIT C
                                          Case 21-03000-sgj Doc 63 Filed 02/09/21                                     Entered 02/09/21 12:57:38                           Page 11 of 13
                                                                                                               Exhibit C
                                                                                                        Core/2002 Service List
                                                                                                       Served via First Class Mail


               Description                            CreditorName                   CreditorNoticeName                      Address1                      Address2              Address3               City      State     Zip
  Bank                                    BBVA                                   Michael Doran                   8080 North Central Expressway      Suite 1500                                     Dallas         TX    75206
                                                                                 Centralized Insolvency
  IRS                                     Internal Revenue Service               Operation                       PO Box 7346                                                                       Philadelphia   PA    19101-7346
  Secured Creditor                        KeyBank National Association           as Administrative Agent         225 Franklin Street, 18th Floor                                                   Boston         MA    02110
  Secured Creditor                        KeyBank National Association           as Agent                        127 Public Square                                                                 Cleveland      OH    44114
  Texas Attorney General                  Office of the Attorney General         Ken Paxton                      300 W. 15th Street                                                                Austin         TX    78701
                                                                                                                                                    10th & Constitution
  Attorney General of the United States   Office of the Attorney General                                         Main Justice Building, Room 5111   Avenue, N.W.                                   Washington     DC    20530
  US Attorneys Office for Northern
  District of TX                          Office of the United States Attorney   Erin Nealy Cox, Esq             1100 Commerce Street, 3rd Floor                                                   Dallas         TX    75202
                                                                                 Revenue Accounting Division-
  TX Comptroller of Public Accounts       State Comptroller of Public Accounts   Bankruptcy Section              PO Box 13258                                                                      Austin         TX    78711
  Equity Holders                          Strand Advisors, Inc.                                                  300 Crescent Court                 Suite 700                                      Dallas         TX    75201

  TX AG Office                            Texas Attorney Generals Office         Bankruptcy-Collections Division PO Box 12548                                                                      Austin         TX    78711-2548
  U.S. Department of the Treasury         US Department of the Treasury          Office of General Counsel       1500 Pennsylvania Avenue, NW                                                      Washington     DC    20220
                                                                                                                                                    Carvel State Office
  Delaware Division of Revenue            Zillah A. Frampton                     Bankruptcy Administrator        Delaware Division of Revenue       Building, 8th Floor     820 N. French Street   Wilmington     DE    19801




Highland Capital Management, L.P.
Case No. 19-34054                                                                                               Page 1 of 1
Case 21-03000-sgj Doc 63 Filed 02/09/21   Entered 02/09/21 12:57:38   Page 12 of 13



                              EXHIBIT D
                               Case 21-03000-sgj Doc 63 Filed 02/09/21                     Entered 02/09/21 12:57:38               Page 13 of 13
                                                                                   Exhibit D
                                                                                Affected Parties
                                                                           Served via First Class Mail

                 Description                      CreditorName          CreditorNoticeName                     Address1               Address2        City   State      Zip
 Counsel for Highland Capital Management
 Fund Advisors, L.P., Nexpoint Advisors,
 L.P., Highland Income Fund, Nextpoint
 Strategic Opportunities Fund and Nexpoint                                                          4350 Lassiter at North Hills
 Capital Inc.                                K&L Gates LLP          A. Lee Hogewood, III            Avenue Suite 300                              Raleigh    NC      27609
 Counsel for Highland Capital Management
 Fund Advisors, L.P., Nexpoint Advisors,
 L.P., Highland Income Fund, Nextpoint
 Strategic Opportunities Fund and Nexpoint
 Capital Inc.                                K&L Gates LLP          Artoush Varshosaz               1717 Main Street, Suite 2800                  Dallas     TX      75201
 Counsel for Highland Capital Management
 Fund Advisors, L.P., Nexpoint Advisors,
 L.P., Highland Income Fund, Nextpoint
 Strategic Opportunities Fund and Nexpoint
 Capital Inc.                                K&L Gates LLP          James A. Wright III             1 Lincoln Street                              Boston     MA      02110
 Counsel for Highland Capital Management
 Fund Advisors, L.P., Nexpoint Advisors,
 L.P., Highland Income Fund, Nextpoint
 Strategic Opportunities Fund and Nexpoint
 Capital Inc.                                K&L Gates LLP          Stephen G. Topetzes             1601 K Street, NW                             Washington DC      20006-1600
                                             Kane Russell Coleman   Joseph M. Coleman, John J.
 Counsel for CLO Holdco, Ltd.                Logan PC               Kane                            901 Main Street, Suite 5200                   Dallas     TX      75242-1699
 Counsel for Highland Capital Management
 Fund Advisors, L.P., Nexpoint Advisors,
 L.P., Highland Income Fund, Nextpoint
 Strategic Opportunities Fund and Nexpoint MUNSCH HARDT KOPF                                                                         500 N. Akard
 Capital Inc.                              & HARR, P.C.             Davor Rukavina, Esq., Julian P. 3800 Ross Tower                  Street       Dallas     TX      75202
 Counsel for CLO Holdco, Ltd.              Myers Bigel P.A.         Grant Scott, Director           4140 Park Lake Ave, Ste 600                   Raleigh    NC      27612




Highland Capital Management, L.P.
Case No. 19-34054                                                                 Page 1 of 1
